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 1   HAMILTON CANDEE (Cal. SBN 111376)
     BARBARA JANE CHISHOLM (Cal. SBN 224656)
 2   NICOLE COLLINS (Cal. SBN 338506)
     ALTSHULER BERZON LLP
 3   177 Post St., Suite 300
     San Francisco, CA 94108
 4   Telephone: (415) 421-7151
     Facsimile: (415) 362-8064
 5   Email: hcandee@altber.com; bchisholm@altber.com;
            ncollins@altber.com
 6
     Attorneys for Plaintiffs Golden State Salmon Association, Natural Resources
     Defense Council, Inc., Defenders of Wildlife, and Bay.Org d/b/a The Bay Institute
 7
     GLEN H. SPAIN (Cal. SBN 88097)
 8
     P.O. Box 11170
     Eugene, OR 97440-3370
 9
     Telephone: (541) 689-2000
     Email: fish1ifr@aol.com
10
     Attorney for Plaintiffs Pacific Coast Federation of Fishermen’s Associations and
11   Institute for Fisheries Resources

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13                             UNITED STATES DISTRICT COURT
14                        FOR THE EASTERN DISTRICT OF CALIFORNIA

15
       PACIFIC COAST FEDERATION OF                       Case No. 1:20-cv-00431-DAD-EPG
16     FISHERMEN’S ASSOCIATIONS, et al.,
                                                         [PROPOSED] ORDER GRANTING
17                       Plaintiffs,                     PLAINTIFFS’ MOTION TO STRIKE
                                                         DECLARATIONS FILED BY
18               v.                                      INTERVENORS REGARDING ECONOMIC
19     GINA RAIMONDO, in her official                    HARM
       capacity as Secretary of Commerce, et al.,
20
                         Defendants.
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                  [PROPOSED] ORDER GRANTING PLS.’ MOT. TO STRIKE INTERVENORS’ DECLARATIONS
                                                                  Case No. 1:20-cv-00431-DAD-EPG
     Case 1:20-cv-00431-DAD-EPG Document 367-1 Filed 01/24/22 Page 2 of 3


 1          Upon careful consideration of the Motion to Strike Declarations Filed by Intervenors

 2   Regarding Economic Harm (“Motion to Strike”) filed by Plaintiffs Pacific Coast Federation of

 3   Fishermen’s Associations, Institute for Fisheries Resources, Golden State Salmon Association,

 4   Natural Resources Defense Council, Inc., Defenders of Wildlife, and Bay.Org d/b/a The Bay

 5   Institute (collectively, “Plaintiffs”), Plaintiffs’ memorandum of points and authorities in support

 6   thereof, and the applicable statutory and case law, and finding good cause shown, Plaintiffs’

 7   Motion to Strike is GRANTED.

 8          IT IS HEREBY ORDERED that:

 9      1. The entirety of the Declaration of John Dickey (Dkt. 335) is stricken.

10      2. The entirety of the Declaration of Erik Wilson (Dkt. 336) is stricken.

11      3. The entirety of the Declaration of Baldomero Hernandez (Dkt. 345) is stricken.

12      4. The Declaration of Jose Gutierrez (Dkt. 346) ¶¶8–13 are stricken.

13      5. The Declaration of Anthea Hansen (Dkt. 347) ¶¶7, 9 are stricken.

14      6. The entirety of the Declaration of the City of San Joaquin Mayor Julia Hernandez (Dkt.

15          348) is stricken.

16      7. The entirety of the Declaration of James L. Jasper (Dkt. 349) is stricken.

17      8. The entirety of the Declaration of Martin Macias (Dkt. 350) is stricken.

18      9. The entirety of the Declaration of Natalie Caples (Dkt. 351) is stricken.

19      10. The Declaration of Lon M. Martin (Dkt. 352) ¶¶5–6, 8, 10–13 & Exh. A (Dkt. 352-1) are

20          stricken.

21      11. The Declaration of Cindy Kao (Dkt. 353) ¶24 is stricken.

22      12. The entirety of the Declaration of Dr. Michael A. Shires (Dkt. 355) is stricken.

23      13. The Declaration of William Diedrich (Dkt. 357) ¶¶6–11, 13 are stricken.

24      14. The Declaration of Ian Buck-MacLeod (Dkt. 359) ¶¶12–13 are stricken.

25      15. Section III.B of Intervenors’ opposition brief, page 27 line 1 to page 28 line 13 (Dkt. 344) is

26          stricken.

27          IT IS SO ORDERED.

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                   [PROPOSED] ORDER GRANTING PLS.’ MOT. TO STRIKE INTERVENORS’ DECLARATIONS
                                             1                     Case No. 1:20-cv-00431-DAD-EPG
     Case 1:20-cv-00431-DAD-EPG Document 367-1 Filed 01/24/22 Page 3 of 3


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 2    Dated:
                                                  Hon. Dale A. Drozd,
 3                                                United States District Judge

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                [PROPOSED] ORDER GRANTING PLS.’ MOT. TO STRIKE INTERVENORS’ DECLARATIONS
                                          2                     Case No. 1:20-cv-00431-DAD-EPG
